     Case 1:06-cv-00670-CKK Document 345 Filed 07/26/10 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

________________________________________________
LARRY KLAYMAN et al.,                            )
                                                 ) Civil Action No. 06‐CV‐00670 (CKK)
        Plaintiff,                               )
                                                 )
                        v.                       )
                                                 )
JUDICIAL WATCH, INC. et al,                      )
                                                 )
                                                 )
        Defendants.                              )
                                                 )
_______________________________________________ )

                                             )
ELHAM SATAKI,                                )
                                             ) Civil Action No. 10‐0534 (CKK)
              Plaintiff,                     )
                                             )
       v.                                    )
                                             )
BROADCASTING BOARD OF                        )
GOVERNORS, et al.                            )
                                             )
              Defendants.                    )
                                             )
________________________________________________
ELHAM SATAKI,                                    )
                                                 ) Civil Action No. 10‐CV‐00466 (CKK)
        Plaintiff,                               )
                                                 )
                        v.                       )
                                                 )
MEHDI FALAHATI, et al.,                          )
                                                 )
        Defendants.                              )
                                                 )
_______________________________________________ )




                                                                                        1
     Case 1:06-cv-00670-CKK Document 345 Filed 07/26/10 Page 2 of 2




  PLAINTIFFS’ 28 U.S.C. 144 MOTION TO DISQUALIFY AND MEMORANDUM IN
     SUPPORT THEREOF AND CERTIFICATE OF GOOD FAITH OF COUNSEL

       Plaintiffs and their counsel move to disqualify District Judge Colleen Kollar‐

Kotelly in the above styled cases on the bases set forth in the accompanying affidavit

of Larry Klayman, which is filed on his behalf, and on behalf of his clients. As

required by 28 U.S.C. 144, the undersigned hereby certifies that this motion is being

filed in good faith.

       The motion is timely as recent events in the above styled cases have

confirmed the extra‐judicial bias and prejudice against Plaintiffs’ counsel, which is

imputed to his clients. These events are set forth in the attached affidavit, which is

incorporated herein by reference.

       The undersigned respectfully requests that all proceedings in the above

styled cases be stayed and otherwise held in abeyance until this motion is fully

briefed and an evidentiary hearing held on the issues which it addresses.

                                           Respectfully submitted,



                                           Larry Klayman///______
                                           Larry Klayman, Esquire
                                           D.C. Bar No. 334581
                                           The Klayman Law Firm
                                           Attorneys for Plaintiff
                                           2000 Pennsylvania Avenue, N.W.
                                           Suite 345
                                           Washington, DC 20006
                                           310‐595‐0800




                                                                                    2
